CASE 0:18-cv-01776-JRT-JFD Doc. 1442-47 Filed 08/24/22 Page 1 of 6




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CASE 0:18-cv-01776-JRT-JFD Doc. 1442-47 Filed 08/24/22 Page 2 of 6
                                                                                     CASE 0:18-cv-01776-JRT-JFD Doc. 1442-47 Filed 08/24/22 Page 3 of 6
{Wkly Recap}
                                                                                                                                                                                     The Pork Group Margin Recap
                                                                                                                                                                     For the Week Ended 09/28/13

Wean Pig Sales (per Head)                                                                                                                                                                                                                                                                                                                                                                                                        Notes
                                 Total Hd                   Avg $ to   FOB Farm          Sales      Pass Thru                    Freight        Net                 Effective              Est       Pass Thru     Breeding                        TPG          Cost Pre            Grain                                                Effective              Gross
                                 Shipped        Avg Wt.     Top $ %        Price         Adjs.      Charges         NPPC        Allowance       Sales                Sales             Farm Cost     Charges       Stock P&L        Freight    Overhead     Hedge /Alloc           Hedging                                                 Cost                Margin               Margin $
  Effingham                          3,190        10.82     92.9%      $     38.61   $       -      $     -     $     (0.15) $      1.59    $       40.05       $        40.05         $    34.40    $       -     $   (0.32) $         2.39   $     1.38   $        37.86     $        -                                            $        37.86       $        2.19         $       6,970
  RC Family Farm                     6,438        11.49     96.8%      $     42.64   $       0.04   $     -     $     (0.17) $ 1.59         $       44.10       $        44.10         $    35.48    $        -    $    (0.32) $        2.27   $     1.38   $        38.81     $        -                                            $        38.81       $        5.29         $      34,062
  Total                              9,628        11.27     97.2%      $    41.31    $      0.02    $    -      $    (0.17) $ 1.59          $      42.76        $        42.76         $   35.12     $       -     $   (0.32) $        2.31    $    1.38    $       38.50      $       -                                             $       38.50        $        4.26         $      41,032

                                            -           -     0.0%                                                                          $               -   $                -                                                                          $              -   $            -                                        $                -   $                 -   $              -


Market Hog Sales (per Live Lb)
                                 Total Hd                   Avg $ to       Gross         Sales                                                  Net                 Effective              Est                                                     TPG          Cost Pre            Grain       Prior Period        Allocation           Effective              Gross                              Adjusted        Adjusted
                                 Shipped        Avg Wt.     Top $ %        Sales         Adjs.                      NPPC                        Sales                Sales             Farm Cost                                    Freight    Overhead     Hedge /Alloc           Hedging       Cost Adj.         To Gilt Cost            Cost                Margin               Margin $       Farm Cost       Margins
  TPG OK Comm                          -            -        0.0%      $       -     $       -                  $       -                   $           -       $            -         $         -                              $        -     $      -     $          -       $        -                      $             -       $            -       $         -           $         562                  $         562
  TPG PSMC Comm                      3,212       247.56     96.0%      $ 0.6713      $     -                    $ (0.0034)                  $      0.6679       $      0.6679          $  0.7521                                $ 0.0141       $ 0.0092     $       0.7755     $        -       $        -     $             -       $       0.7755       $     (0.1076) $            (85,528) $     0.7955    $    (101,432)
  TPG Signature Comm                 8,240       274.08     99.1%      $ 0.7186      $     -                    $ (0.0035)                  $      0.7151       $      0.7151          $  0.6734                                $ 0.0152       $ 0.0083     $       0.6969     $        -       $        -     $             -       $       0.6969       $      0.0182 $              41,086 $      0.6719    $      97,547
  Total                             11,452       266.64     98.2%      $ 0.7063      $ 0.0002                   $ (0.0034)                  $     0.7030        $      0.7030          $ 0.6939                                 $ 0.0150       $ 0.0085     $      0.7174      $       -        $       -                            $      0.7174        $     (0.0144) $            (43,880)                 $      (3,322)

                                            -           -     0.0%                                                                          $               -   $                -                                                                          $              -   $            -                  $                 -   $                -   $                 -   $              -



Cull Breeding Stock (per Live Lb)
                                 Total Hd                                  Gross                                                                Net                 Effective              Est                                                                  Cost Pre            Grain                           Allocation           Effective              Gross
                                 Shipped        Avg Wt.                    Sales                                    NPPC                        Sales                Sales             Farm Cost                  Commissions       Freight                 Hedge /Alloc           Hedging                         To Sow Unit             Cost                Margin               Margin $
  Heavy Sows                           152       509.05                $    0.7781                              $   (0.0028)                $      0.7753       $       0.7753         $   0.4804                  $     -      $     0.0836                $       0.5640                                     $          0.2113     $       0.7753       $             -       $         -
  Light Sows                           376       402.09                $    0.7075                              $   (0.0028)                $      0.7046       $       0.7046         $   0.6082                  $     -      $     0.0836                $       0.6918                                     $          0.0129     $       0.7046       $             -       $         -
  Boners                                96       402.71                $    0.6575                              $   (0.0026)                $      0.6548       $       0.6548         $   0.6073                  $     -      $     0.0836                $       0.6909                                     $         (0.0360) $          0.6548       $             -       $         -
  Boars                                 31       630.97                $ 0.3500                                 $ (0.0014)                  $      0.3486       $       0.3486         $  0.3876                   $     -      $ 0.0836                    $       0.4712                                     $        (0.1226) $           0.3486       $          -          $         -
  NV/DOA                                 6       400.67                $     -                                  $      -                    $         -         $          -           $  0.6104                   $     -      $ 0.0836                    $       0.6939                                     $        (0.6939) $              -         $          -          $         -
  Total                                661       437.49                $ 0.6896                                 $ (0.0027)                  $     0.6869        $      0.6869          $ 0.5590                    $    -       $ 0.0836                    $      0.6426                                      $        0.0444 $            0.6869        $         -           $         -
  Alloc to Sow Unit                                                                                                                                                                                                                                                                                            $        12,834
                                            -           -                                                                                                                                                                                                   $              -                                   $                 -   $                -   $                 -   $              -



Summary                                                                                                         $           -
                                 Total Hd                                                                                                       Net                 Effective                                                                                   Cost Pre            Grain       Prior Period                             Effective              Gross                                              Adjusted
                                 Shipped        Avg Wt.                                                                                         Sales                Sales                                                                                  Hedge /Alloc           Hedging       Cost Adj.         Allocation              Cost               Margin/Hd             Margin $                   Gross Margin
  Wean Pigs                          9,628        11.27                                                                                     $     411,676       $     411,676                                                                               $      370,644     $        -                      $             -       $      370,644       $        4.26         $      41,032                  $      41,032
  Market Hogs                       11,452       266.64                                                                                     $   2,146,700       $ 2,146,700                                                                                 $    2,190,580     $        -       $        -     $             -       $    2,190,580       $       (3.83) $            (43,880)                 $       (3,322)
  Cull Breeders                        661       437.49                                                                                     $     198,653       $     198,653                                                                               $      185,819     $        -                      $          12,834     $      198,653       $         -           $         -
   Sub-Total                        21,886                                                                                                  $ 2,787,206         $ 2,787,206                                                                                 $ 2,780,909        $       -        $       -      $          9,145      $ 2,790,053          $       (0.13) $              (2,848)                $      37,710
                                                                                                                                                                                                                                                            COS Adj. (Op. Changes)                                                                        $       (0.77) $            (16,900)                 $      (16,900)
                                                                                                                                                                                                                                                            SG&A                                                                                          $       (0.91)        $     (19,900)                 $     (19,900)
                                                                                                                                                                                                                                                            Hedge Accruals                                                                                $      (11.76)        $    (257,345)                 $    (257,345)
                                                                                                                                                                                                                                                            Finish Closeout Adjs.                                                                         $       (5.06)        $    (110,735)                 $         -
                                                                                                                                                                                                                                                            Down Time Exp/Marketing Bonus                                                                 $        0.20         $       4,300                  $         -
                                                                                                                                                                                                                                                            EBIT                                                                                          $      (19.88)        $    (435,066)                 $    (288,074)
                                                                                                                                                                                                                                                            Interest Income                                                                               $        0.33         $       7,164                  $       7,164
                                                                                                                                                                                                                                                            EBT                                                                                           $      (19.55)        $    (427,903)                 $    (280,910)

                                                                                                                                                                                                                                                                                                                                                                                $         -

  Notes
  _Wean pigs sales were $8K favorable to projections due to farm cost, weight, rejects and count variance
  _Market hogs sales were $87k unfavorable to projections due to weights, sorts, price, age mix and additional 776 head shipped form PSMC Finish (425hd were culls




{Wkly Recap}                                                                                                                                                                                             4                                                                                                                                            Tyson Foods Inc. Confidential
                                                                                           CASE 0:18-cv-01776-JRT-JFD Doc. 1442-47 Filed 08/24/22 Page 4 of 6
                                                                                                                                                                       The Pork Group Margin Recap
                                                                                                                                                                                Month Ended 9/28/13

Wean Pig Sales (per Head)
                             Total Hd                   Avg $ to   FOB Farm       Sales    Pass Thru                   Freight         Net                      Effective          Est                    Breeding    Production                   TPG           Cost Pre               Grain                                                  Effective              Gross
                             Shipped      Avg Wt.       Top $ %      Price        Adjs.     Charges        NPPC       Allowance       Sales       Hedging        Sales          Farm Cost   Pass Thru    Stock P&L     Variance        Freight   Overhead       Hedge /Alloc           Hedging                                                   Cost                 Margin            Margin $
  Effingham                   12,680         10.90      96.8%      $ 38.22    $      -     $ -         $     (0.15)   $ 1.61      $       39.67   $ -       $        39.67      $ 34.48     $ -         $    0.10     $      -     $      2.39   $   1.52   $           38.49      $         -                                             $         38.49       $       1.17       $      14,896
  RC Family Farm              25,737         11.31      95.8%      $ 42.24    $     0.01   $ -         $     (0.17)   $ 1.60      $       43.68   $ -       $        43.68      $ 35.20     $ -         $    0.05     $      -     $      2.36   $   1.52   $           39.13      $         -                                             $         39.13       $       4.55       $     117,125
  Spot Sales                     -             -        0.0%       $   -      $      -     $ -         $       -      $ -         $         -     $ -       $          -        $   -       $ -         $     -       $      -     $        -    $     -    $             -        $         -                                             $           -         $        -         $         -
  Total                       38,417         11.18      96.2%      $ 40.91    $     0.01   $ -         $    (0.16)    $ 1.60      $      42.36    $ -       $        42.36      $ 34.96     $ -         $    0.07     $     -      $      2.37   $   1.52   $          38.92       $        -                                              $        38.92        $       3.44       $     132,021
                                     -              -     0.0%                                                                    $           -   $     -   $               -                                                                               $                  -   $             -                                         $               -     $              -   $                  -

Non Select Hog Sales (per Live Lb)
                             Total Hd                   Avg $ to     Gross        Sales                                                Net                      Effective          Est                                Production                   TPG           Cost Pre               Grain        Prior Period   Allocation                 Effective              Gross
                             Shipped      Avg Wt.       Top $ %      Sales        Adjs.                    NPPC                       Sales       Hedging        Sales          Farm Cost                              Variance        Freight   Overhead       Hedge /Alloc           Hedging        Cost Adj.         To Gilt Cost             Cost                 Margin            Margin $
  Non Select / Gilts                264    293.48       99.3%      $ 0.6927   $        -               $ (0.0035)                 $      0.6893   $ -       $      0.6893       $ 0.7327                              $      -     $ 0.0384      $ 0.0065   $         0.7777       $         -                      $        (0.0884) $            0.6893        $          -       $              -
  Total                             264    293.48       0.0%       $ 0.6927   $       -                $ (0.0035)                 $     0.6893    $ -       $      0.6893       $ 0.7327                              $     -      $ 0.0384      $ 0.0065   $        0.7777        $        -                       $       (0.0884) $            0.6893         $         -        $              -
  Alloc to Gilt Cost                                                                                                                                                                                                                                                                                                $      (6,851.13)
                                     -              -     0.0%                                                                    $           -   $     -   $               -                                                                               $                  -   $             -                  $                  -   $               -     $              -   $                  -

Market Hog Sales (per Live Lb)
                             Total Hd                   Avg $ to     Gross        Sales                                                Net                      Effective          Est                                Production                   TPG           Cost Pre               Grain        Prior Period   Allocation                 Effective              Gross
                             Shipped      Avg Wt.       Top $ %      Sales        Adjs.                    NPPC                       Sales       Hedging        Sales          Farm Cost                              Variance        Freight   Overhead       Hedge /Alloc           Hedging        Cost Adj.         To Gilt Cost             Cost                 Margin            Margin $
  TPG OK Comm                    -            -         0.0%       $     -    $     -                  $      -                   $         -     $ -       $         -         $     -                               $      -     $     -       $     -    $            -         $         -                      $            -         $          -          $     -            $         562
  TPG PSMC Comm                8,859       259.02       97.9%      $ 0.6801   $     -                  $ (0.0034)                 $      0.6767   $ -       $      0.6767       $ 0.7131                              $      -     $ 0.0154      $ 0.0070   $         0.7354       $         -       $        -     $            -         $       0.7354        $ (0.0587)         $    (134,780)
  TPG Sign Comm               42,758       264.57       98.2%      $ 0.6890   $     -                  $ (0.0034)                 $      0.6856   $ -       $      0.6856       $ 0.6926                              $      -     $ 0.0148      $ 0.0064   $         0.7137       $         -       $        -     $            -         $       0.7137        $ (0.0281)         $    (318,422)
  Total                       51,617       263.62       98.2%      $ 0.6875   $ 0.0000                 $ (0.0034)                 $     0.6841    $ -       $      0.6841       $ 0.6960                              $     -      $ 0.0149      $ 0.0065   $        0.7174        $        -        $       -      $       (0.0000)       $      0.7174         $ (0.0333)         $    (452,640)
                                     -              -     0.0%                                                                    $           -   $     -   $               -                                                                               $                  -   $             -                  $                  -   $               -     $              -   $                  -

Cull Breeding Stock (per Live Lb)
                             Total Hd                                Gross        Sales                                                Net                      Effective          Est                                                                           Cost Pre               Grain                       Allocation                 Effective              Gross
                             Shipped      Avg Wt.                    Sales        Adjs.                    NPPC                       Sales       Hedging        Sales          Farm Cost               Commissions                    Freight                  Hedge /Alloc           Hedging                          To Sow Unit              Cost                 Margin            Margin $
  Heavy Sows                       588     505.37                  $ 0.7158                            $ (0.0028)                 $      0.7130   $ -       $       0.7130      $ 0.4919                $      -                   $ 0.0791                 $         0.5710                                        $         0.1421       $       0.7130        $          -       $              -
  Light Sows                     1,293     398.27                  $ 0.6686                            $ (0.0027)                 $      0.6659   $ -       $       0.6659      $ 0.6247                $      -                   $ 0.0793                 $         0.7039                                        $        (0.0381)      $       0.6659        $          -       $              -
  Boners                           306     410.15                  $ 0.6142                            $ (0.0025)                 $      0.6117   $ -       $       0.6117      $ 0.6092                $      -                   $ 0.0794                 $         0.6885                                        $        (0.0768)      $       0.6117        $          -       $              -
  Others                             4     272.50                  $ 0.6038                            $ (0.0024)                 $      0.6014   $ -       $       0.6014      $ 0.9611                $      -                   $ 0.0775                 $         1.0386                                        $        (0.4372)      $       0.6014        $          -       $              -
  Boars                             93     653.44                  $ 0.3195                            $ (0.0013)                 $      0.3182   $ -       $       0.3182      $ 0.3817                $      -                   $ 0.0794                 $         0.4611                                        $        (0.1429)      $       0.3182        $          -       $              -
  NV/DOA                            38     406.29                  $     -                             $      -                   $         -     $ -       $          -        $ 0.6129                $      -                   $ 0.0784                 $         0.6914                                        $        (0.6914)      $          -          $          -       $              -
  Total to Sow Unit
  Alloc                          2,322     437.09                  $ 0.6445                            $ (0.0026)                 $     0.6420    $ -       $      0.6420       $ 0.5695                $     -                    $ 0.0792                 $        0.6487                                         $
                                                                                                                                                                                                                                                                                                                    $       (0.0068)
                                                                                                                                                                                                                                                                                                                           (6,858.60)      $      0.6420         $         -        $              -

                                     -              -                                                                             $           -   $     -   $               -                                                                               $                  -                                    $                  -   $               -     $              -   $                  -

Summary                                                                                                                                                                                                                                                                                                                                    $        651,566.38
                             Total Hd                                                                                                  Net                      Effective                                                                                        Cost Pre               Grain        Prior Period                              Effective              Gross
                             Shipped      Avg Wt.                                                                                     Sales       Hedging        Sales                                                                                          Hedge /Alloc           Hedging        Cost Adj.          Allocation              Cost                Margin/Hd          Margin $
  Wean Pigs                   38,417        11.18                                                                                 $   1,627,305   $ -       $ 1,627,305                                                                                      $    1,495,283 $       -                               $            -         $ 1,495,283           $   3.44 $                132,021
  Non Select Hogs                264       293.48                                                                                 $      53,404   $ -       $     53,404                                                                                     $        60,256                                        $         (6,851)      $      53,404         $ (0.00) $                      (0)
  Market Hogs                 51,617       263.62                                                                                 $   9,309,066   $ -       $ 9,309,066                                                                                      $    9,761,706 $       -   $                     -     $            -         $ 9,761,706           $ (8.77) $               (452,640)
  Cull Breeders                2,322       437.09                                                                                 $     651,566   $ -       $    651,566                                                                                     $      658,425 $       -                               $         (6,859)      $     651,566         $    -    $                   -
  Sub-Total                   92,620                                                                                              $ 11,641,342    $ -       $ 11,641,342                                                                                     $ 11,975,670 $        -    $                    -      $       (13,710)       $ 11,961,960          $ (3.46) $               (320,618)
                                                                                                                                                                                                                                                            COS Adj. (Op. Changes)                                                                               $ (0.73) $                (67,600)
                                                                                                                                                                                                                                                            SG&A                                                                                                 $ (0.81) $                (75,400)
                                                                                                                                                                                                                                                            Hedge Accruals                                                                                       $ (8.62) $               (798,244)
                                                                                                                                                                                                                                                            Finish Closeout Adjs.                                                                                $   2.49 $                230,595
                                                                                                                                                                                                                                                            Down Time Exp/Marketing Bonus                                                                        $ (0.03) $                 (3,200)
                                                                                                                                                                                                                                                            EBIT                                                                                                 $ (11.51) $            (1,066,106)
                                                                                                                                                                                                                                                            Interest Income                                                                                      $   0.08 $                  7,164
                                                                                                                                                                                                                                                            EBT                                                                                                  $ (11.43) $            (1,058,943)

                                     -                                                                                                                                                                                                                                                                                                                                              $                  -




{MTD Recap}
                                                                                 CASE 0:18-cv-01776-JRT-JFD Doc. 1442-47 Filed 08/24/22 Page 5 of 6
                                                                                                                                                                    The Pork Group Margin Recap
                                                                                                                                                                             Quarter Ended 9/28/13

Wean Pig Sales (per Head)
                              Total Hd                 Avg $ to   FOB Farm       Sales      Pass Thru                   Freight         Net                          Effective             Est                     Breeding    Production                    TPG            Cost Pre                                                      Effective            Gross
                              Shipped    Avg Wt.       Top $ %      Price        Adjs.       Charges        NPPC       Allowance       Sales        Hedging           Sales             Farm Cost    Pass Thru    Stock P&L     Variance        Freight    Overhead        Hedge /Alloc                                                     Cost               Margin           Margin $
  Effingham                    41,347      11.37       96.8%      $ 39.86    $       -      $ -         $     (0.16)   $ 1.60      $       41.30    $ -         $         41.30        $ 33.12       $ -         $     0.66    $      -     $       2.43   $    1.37   $          37.57                                               $         37.57     $       3.73      $     154,193
  RC Family Farm               79,066      11.43       96.1%      $ 42.22    $     (0.01)   $ -         $     (0.17)   $ 1.59      $       43.63    $ -         $         43.63        $ 34.04       $ -         $     0.63    $      -     $       2.40   $    1.37   $          38.43                                               $         38.43     $       5.20      $     411,241
  Spot Sales                   19,064      12.50       99.3%      $ 38.68    $       -      $ -         $     (0.15)   $ 1.27      $       39.79    $ -         $         39.79        $ 37.67       $ -         $     0.81    $      -     $       1.00   $    1.12   $          40.60                                               $         40.60     $      (0.80)     $     (15,326)
  Total                       139,477      11.56       96.8%      $ 41.04    $    (0.01)    $ -         $    (0.16)    $ 1.55      $      42.42     $ -         $         42.42        $ 34.26       $ -         $    0.66     $     -      $      2.21    $   1.33    $         38.47                                                $        38.47      $       3.94      $     550,107
                                     -             -     0.0%                                                                      $           -    $       -   $                -                                                                                     $                  -                                           $               -   $             -   $                   -


Feeder Pig Sales (per Head)
                              Total Hd                 Avg $ to    Gross         Sales      Pass Thru                   Freight         Net                          Effective             Est                                 Production                    TPG            Cost Pre                                                      Effective            Gross
                              Shipped    Avg Wt.       Top $ %     Sales         Adjs.       Charges        NPPC       Allowance       Sales        Hedging           Sales             Farm Cost    Pass Thru                  Variance        Freight    Overhead        Hedge /Alloc                                                     Cost               Margin           Margin $
  Commercial                     2,359     24.76       99.7%      $ 39.18    $        -     $ -         $     (0.16) $ 1.70        $       40.72    $ -         $         40.72        $ 48.48       $ -                       $      -     $       2.85   $    2.01   $          53.33                                               $         53.33     $ (12.61) $             (29,751)
  Total                          2,359     24.76       99.7%      $ 39.18    $       -      $ -         $    (0.16) $ 1.70         $      40.72     $ -         $         40.72        $ 48.48       $ -                       $     -      $      2.85    $   2.01    $         53.33                                                $        53.33      $ (12.61) $             (29,751)
                                     -             -     0.0%                                                                      $           -    $       -   $                -                                                                                     $                  -                                           $               -   $             -   $                   -


Non Select Hog Sales (per Live Lb)
                              Total Hd                 Avg $ to    Gross         Sales                                                  Net                          Effective             Est                                 Production                    TPG            Cost Pre          Prior Period   Allocation                   Effective            Gross
                              Shipped    Avg Wt.       Top $ %     Sales         Adjs.                      NPPC                       Sales        Hedging           Sales             Farm Cost                               Variance        Freight    Overhead        Hedge /Alloc        Cost Adj.         To Gilt Cost               Cost               Margin           Margin $
  Non Select / Gilts             1,431   290.83        99.5%      $ 0.7413   $        -                 $ (0.0037)                 $      0.7376    $ -         $       0.7376         $ 0.7877                                $      -     $ 0.0349       $ 0.0065    $         0.8292                      $        (0.0916) $               0.7376     $         -       $               -
  Total                          1,431   290.83        0.0%       $ 0.7413   $       -                  $ (0.0037)                 $     0.7376     $ -         $       0.7376         $ 0.7877                                $     -      $ 0.0349       $ 0.0065    $        0.8292                       $       (0.0916) $                 0.74      $        -        $              -
  Alloc to Gilt Cost                                                                                                                                                                                                                                                                                         $         (38,124)

                                     -             -     0.0%                                                                      $           -    $       -   $                -                                                                                     $                  -                  $                    -   $               -   $             -   $                   -


Market Hog Sales (per Live Lb)
                              Total Hd                 Avg $ to    Gross         Sales                                                  Net                          Effective             Est                                 Production                    TPG            Cost Pre          Prior Period   Allocation                   Effective            Gross
                              Shipped    Avg Wt.       Top $ %     Sales         Adjs.                      NPPC                       Sales        Hedging           Sales             Farm Cost                               Variance        Freight    Overhead        Hedge /Alloc        Cost Adj.         To Gilt Cost               Cost               Margin           Margin $
  TPG OK Comm                  525       287.81        99.3%      $ 0.7555   $ 0.0037                   $ (0.0038)                 $      0.7554    $ -         $       0.7554         $ 0.7944                                $     -    $ 0.0488         $ 0.0074    $         0.8506                     $               -         $       0.8506      $ (0.0952)        $     (14,386)
  TPG Missouri Comm          3,650       263.20        99.0%      $ 0.7581   $      -                   $ (0.0038)                 $      0.7543    $ -         $       0.7543         $ 0.7131                                $ 0.0282 $ 0.0163           $ 0.0063    $         0.7640                     $               -         $       0.7640      $ (0.0097)        $      (9,320)
  TPG PSMC Comm             23,078       261.81        98.0%      $ 0.7227   $ (0.0002)                 $ (0.0036)                 $      0.7190    $ -         $       0.7190         $ 0.7083                                $ 0.0001 $ 0.0201           $ 0.0065    $         0.7350       $     0.0099 $                -         $       0.7450      $ (0.0260)        $    (156,957)
  TPG Sign Comm            127,084       262.28        98.1%      $ 0.7200   $ (0.0000)                 $ (0.0036)                 $      0.7164    $ -         $       0.7164         $ 0.7139                                $ 0.0007 $ 0.0133           $ 0.0064    $         0.7343       $    (0.0208) $               -         $       0.7135      $ 0.0029          $      95,700
  TPG Contr Fin IPP          2,339       275.31        99.0%      $ 0.7509   $      -                   $ (0.0038)                 $      0.7472    $ -         $       0.7472         $ 0.6996                                $     -    $ 0.0105         $ 0.0067    $         0.7168       $        -    $               -         $       0.7168      $ 0.0304          $      19,551
  TPG Contr Fin Pipe Stone   7,132       266.94        98.9%      $ 0.7492   $ (0.0002)                 $ (0.0037)                 $      0.7452    $ -         $       0.7452         $ 0.6882                                $ (0.0001) $ 0.0061         $ 0.0062    $         0.7005       $        -    $               -         $       0.7005      $ 0.0448          $      85,212
  TPG Contr Fin Other          997       296.71        99.4%      $ 0.7308   $      -                   $ (0.0037)                 $      0.7272     ####       $       0.7272         $ 0.6125                                $ 0.0400 $ 0.0173           $ 0.0055    $         0.6353       $        -    $               -         $       0.6353      $ 0.0919          $      27,181
  Total                    164,805       262.91        98.1%      $ 0.7232   $ (0.0000)                 $ (0.0036)                 $     0.7195     $ -         $       0.7195         $ 0.7113                                $ 0.0012 $ 0.0141           $ 0.0064    $        0.7330        $   (0.0146) $               -          $      0.7185       $ 0.0011          $      46,981
  Alloc to Gilt Cost                                                                                                                                                                                                                                                                                         $                -

                                     -             -     0.0%                                                                      $           -    $       -   $                -                                                                                     $                  -                  $                    -   $               -   $             -   $                   -


Cull Breeding Stock (per Live Lb)
                              Total Hd                             Gross         Sales                                                  Net                          Effective             Est                                                                              Cost Pre                         Allocation                   Effective            Gross
                              Shipped    Avg Wt.                   Sales         Adjs.                      NPPC                       Sales        Hedging           Sales             Farm Cost                Commissions                    Freight                    Hedge /Alloc                          To Sow Unit                Cost               Margin           Margin $
  Heavy Sows                     1,253   520.02                   $ 0.6354                              $ (0.0025)                 $      0.6329    $ -         $        0.6329        $ 0.4801                  $      -                   $ 0.0799                   $         0.5600                      $         0.0729 $               0.6329      $     -           $          -
  Light Sows                     3,849   409.06                   $ 0.5856                              $ (0.0023)                 $      0.5833    $ -         $        0.5833        $ 0.6088                  $      -                   $ 0.0780                   $         0.6868                      $        (0.1035) $              0.5833      $     -           $          -
  Boners                         1,016   402.48                   $ 0.5383                              $ (0.0022)                 $      0.5362    $ -         $        0.5362        $ 0.6197                  $      -                   $ 0.0777                   $         0.6974                      $        (0.1612) $              0.5362      $     -           $          -
  Others                            25   328.40                   $ 0.2812                              $ (0.0011)                 $      0.2800    $ -         $        0.2800        $ 0.7894                  $      -                   $ 0.0747                   $         0.8641                      $        (0.5841) $              0.2800      $     -           $          -
  Boars                            134   596.27                   $ 0.2840                              $ (0.0011)                 $      0.2829    $ -         $        0.2829        $ 0.4555                  $      -                   $ 0.0791                   $         0.5347                      $        (0.2517) $              0.2829      $     -           $          -
  NV/DOA                           117   434.89                   $     -                               $      -                   $         -      $ -         $           -          $ 0.5724                  $      -                   $ 0.0783                   $         0.6506                      $        (0.6506) $                 -        $     -           $          -
  Total                          6,394   433.84                   $ 0.5700                              $ (0.0023)                 $     0.5678     $ -         $       0.5678         $ 0.5757                  $     -                    $ 0.0784                   $        0.6541                       $       (0.0880) $              0.5660       $ 0.0017          $        4,770
  Alloc to Sow Unit                                                                                                                                                                                                                                                                                          $       (244,192)

                                     -             -                                                                               $           -    $       -   $                -                                                                                     $                  -                  $                    -   $               -   $             -   $                   -


Summary
                              Total Hd                                                                                                  Net                          Effective                                                                                              Cost Pre          Prior Period                                Effective            Gross
                              Shipped    Avg Wt.                                                                                       Sales        Hedging           Sales                                                                                                Hedge /Alloc        Cost Adj.         Allocation                 Cost              Margin/Hd         Margin $
  Wean Pigs                   139,477     11.56                                                                                    $    5,916,266   $   -       $ 5,916,266                                                                                             $    5,366,159             $                      -    $  5,366,159               $   3.94 $    550,107
  Feeder Pigs                   2,359     24.76                                                                                    $       96,062   $   -       $     96,062                                                                                            $      125,813             $                      -    $    125,813               $ (12.61) $   (29,751)
  Non Select Hogs               1,431    290.83                                                                                    $      306,982               $    306,982                                                                                            $      345,106             $                  (38,124) $    306,982               $    -    $       -
  Market Hogs                 164,805    262.91                                                                                    $ 31,176,500     $ -         $ 31,176,500                                                                                            $ 31,761,522 $ (632,003) $                        -    $ 31,129,519               $   0.29 $     46,981
  Cull Breeders                 6,394    433.84                                                                                    $    1,574,926   $ -         $ 1,574,926                                                                                             $    1,814,347             $                 (244,192) $  1,570,156               $   0.75 $      4,770
  Sub-Total                   314,466                                                                                              $ 39,070,736     $ -         $ 39,070,736                                                                                            $ 39,412,948 $ (632,003) $                 (282,315) $38,498,629                  $   1.82 $    572,107
                                                                                                                                                                                                                                                                       COS Adj. (Op. Changes)                                                             $ (1.31) $   (412,318)
                                                                                                                                                                                                                                                                       SG&A                                                                               $ (0.76) $   (240,330)
                                                                                                                                                                                                                                                                       Hedge Accruals                                                                     $ (6.08) $ (1,913,076)
                                                                                                                                                                                                                                                                       Logistics Variance                                                                 $ (0.01) $     (2,675)
                                                                                                                                                                                                                                                                       FFE Wean Pig Sales Reserve                                                         $ (0.06) $    (18,879)
                                                                                                                                                                                                                                                                       Finish Closeout Adjs.                                                              $   0.73 $    230,595
                                                                                                                                                                                                                                                                       Down Time Exp/Marketing Bonus                                                      $ (0.01) $     (3,200)
                                                                                                                                                                                                                                                                       EBIT                                                                               $ (5.76) $ (1,812,776)
                                                                                                                                                                                                                                                                       Interest Income                                                                    $   0.07 $     20,590
                                                                                                                                                                                                                                                                       EBT                                                                                $ (5.70) $ (1,792,186)




{QTD Recap}
                                                                                         CASE 0:18-cv-01776-JRT-JFD Doc. 1442-47 Filed 08/24/22 Page 6 of 6
                                                                                                                                                                       The Pork Group Margin Recap
                                                                                                                                                                                   For Year Ended 09/28/2013

Wean Pig Sales (per Head)
                                 Total Hd                     Avg $ to   FOB Farm       Sales      Pass Thru                   Freight          Net                Effective                Est                     Breeding    Production                    TPG            Cost Pre                                                      Effective            Gross
                                 Shipped        Avg Wt.       Top $ %      Price        Adjs.       Charges        NPPC       Allowance        Sales                Sales                Farm Cost    Pass Thru    Stock P&L     Variance        Freight    Overhead        Hedge /Alloc                                                     Cost               Margin           Margin $
 Effingham                       153,540          11.87       97.9%      $ 41.79    $      0.01    $ -         $     (0.17)   $ 1.74      $            43.37   $         43.37          $ 34.62       $ -         $     1.13    $      -     $       2.99   $    1.78   $            40.52                                             $          40.52    $       2.85      $     438,196
 McLean Pork LLC                  91,284          12.08       97.5%      $ 38.82    $      0.06    $ 0.05      $     (0.15)   $ 2.12      $            40.90   $         40.90          $ 35.32       $ 0.05      $     1.45    $      -     $       2.57   $    1.96   $            41.34                                             $          41.34    $      (0.44)     $     (40,414)
 RC Family Farm                  246,825          11.88       96.5%      $ 41.89    $     (0.02)   $ -         $     (0.17)   $ 1.62      $            43.33   $         43.33          $ 34.92       $ -         $     1.12    $      -     $       2.47   $    1.76   $            40.27                                             $          40.27    $       3.06      $     755,253
 Spot Sales                       19,370          12.53       99.3%      $ 38.86    $       -      $ -         $     (0.16)   $ 1.25      $            39.95   $         39.95          $ 37.74       $ -         $     0.82    $      -     $       0.98   $    1.14   $            40.68                                             $          40.68    $      (0.73)     $     (14,081)
 Total                           511,019          11.94       97.2%      $ 41.20    $    41.20     $ 0.01      $    (0.16)    $ 1.73      $           42.78    $         42.78          $ 35.01       $ 0.01      $    1.17     $     -      $      2.58    $   1.78    $           40.55                                              $         40.55     $       2.23      $   1,138,954
                                            -             -     0.0%                                                                      $               -    $               -                                                                                        $                  -                                           $               -   $             -   $                  -


Feeder Pig Sales (per Head)
                                 Total Hd                     Avg $ to     Gross        Sales      Pass Thru                   Freight          Net                Effective                Est                                 Production                    TPG            Cost Pre                                                      Effective            Gross
                                 Shipped        Avg Wt.       Top $ %      Sales        Adjs.       Charges        NPPC       Allowance        Sales                Sales                Farm Cost    Pass Thru                  Variance        Freight    Overhead        Hedge /Alloc                                                     Cost               Margin           Margin $
 Commercial                         2,359         24.76       99.7%      $ 39.18    $        -     $ -         $     (0.16) $ 1.70        $            40.72   $         40.72          $ 48.48       $ -                       $      -     $       2.85   $    2.01   $            53.33                                             $          53.33    $ (12.61) $              (29,751)
 Total                              2,359         24.76       99.7%      $ 39.18    $       -      $ -         $    (0.16) $ 1.70         $           40.72    $         40.72          $ 48.48       $ -                       $     -      $      2.85    $   2.01    $           53.33                                              $         53.33     $ (12.61) $              (29,751)
                                            -             -     0.0%                                                                      $               -    $               -                                                                                        $                  -                                           $               -   $             -   $                  -


Non Select Hog Sales (per Live Lb)
                                 Total Hd                     Avg $ to     Gross        Sales                                                   Net                Effective                Est                                 Production                    TPG            Cost Pre                            Allocation                Effective            Gross
                                 Shipped        Avg Wt.       Top $ %      Sales        Adjs.                      NPPC                        Sales                Sales                Farm Cost                               Variance        Freight    Overhead        Hedge /Alloc                            To Gilt Cost             Cost               Margin           Margin $
 Non Select / Gilts                 5,798       296.16        98.8%      $ 0.6538   $ 0.0000                   $ (0.0023)                 $       0.6505       $       0.6505           $ 0.8058                                $      -     $ 0.0374       $ 0.0072    $          0.8504                        $       (0.1999) $             0.6505     $         -       $              -
 Total                              5,798       296.16        98.8%      $ 0.6538   $ 0.0000                   $ (0.0023)                 $      0.6505        $       0.6505           $ 0.8058                                $     -      $ 0.0374       $ 0.0072    $         0.8504       $           -     $      (0.1999) $             0.6505      $        -        $              -
 Alloc to Gilt Cost                                                                                                                                                                                                                                                                                              $      (343,263)
                                            -             -     0.0%                                                                      $               -    $               -                                                                                        $                  -                     $                 -   $               -   $             -   $                  -


Market Hog Sales (per Live Lb)
                                 Total Hd                     Avg $ to     Gross        Sales                                                   Net                Effective                Est                                 Production                    TPG            Cost Pre               Closeout     Allocation                Effective            Gross
                                 Shipped        Avg Wt.       Top $ %      Sales        Adjs.                      NPPC                        Sales                Sales                Farm Cost                               Variance        Freight    Overhead        Hedge /Alloc           Adjustments      To Gilt Cost             Cost               Margin           Margin $
 TPG OK Comm                       7,033        278.21        99.6%      $ 0.6274   $ 0.0003                   $ (0.0031)                 $       0.6246       $       0.6246           $ 0.6815                                $ 0.0648 $ 0.0383           $ 0.0059    $          0.7905                       $              -       $        0.7905     $ (0.1659)        $    (324,617)
 TPG Missouri Comm                13,416        262.02        98.8%      $ 0.6587   $ (0.0000)                 $ (0.0033)                 $       0.6554       $       0.6554           $ 0.7238                                $ 0.0094 $ 0.0247           $ 0.0065    $          0.7645                       $              -       $        0.7645     $ (0.1091)        $    (383,462)
 TPG PSMC Comm                    91,823        261.88        98.2%      $ 0.6516   $ (0.0001)                 $ (0.0032)                 $       0.6483       $       0.6483           $ 0.7172                                $ (0.0006) $ 0.0170         $ 0.0074    $          0.7410      $       (0.0072) $              -       $        0.7338     $ (0.0855)        $ (2,055,292)
 TPG Sign Comm                   439,870        267.60        98.8%      $ 0.6551   $ (0.0000)                 $ (0.0033)                 $       0.6519       $       0.6519           $ 0.7046                                $ 0.0031 $ 0.0128           $ 0.0072    $          0.7277      $       (0.0055) $              -       $        0.7222     $ (0.0704)        $ (8,282,099)
 TPG Contr Fin IPP                14,832        262.27        99.1%      $ 0.6692   $      -                   $ (0.0033)                 $       0.6659       $       0.6659           $ 0.7248                                $ 0.0005 $ 0.0140           $ 0.0069    $          0.7463      $       (0.0123) $              -       $        0.7340     $ (0.0681)        $    (264,822)
 TPG Contr Fin Pipe Stone         14,273        269.09        98.9%      $ 0.6935   $ 0.0002                   $ (0.0035)                 $       0.6901       $       0.6901           $ 0.6260                                $ (0.0013) $ 0.0120         $ 0.0075    $          0.6443      $           -    $              -       $        0.6443     $ 0.0459          $     176,200
 TPG Contr Fin Other                 997        296.71        99.4%      $ 0.7308   $      -                   $ (0.0037)                 $       0.7272       $       0.7272           $ 0.6125                                $ 0.0975 $ 0.0173           $ 0.0055    $          0.6353      $           -    $              -       $        0.6353     $ 0.0919          $      27,181
 Total to Gilt Cost
 Alloc                           582,244        266.65        98.7%      $ 0.6558   $ (0.0000)                 $ (0.0033)                 $      0.6525        $       0.6525           $ 0.7051                                $ 0.0033 $ 0.0140           $ 0.0072    $         0.7296       $      (0.0056) $$             -        $       0.7240      $ (0.0715)        $ (11,106,910)

                                            -             -     0.0%                                                                      $               -    $               -                                                                                        $                  -                     $                 -   $               -   $             -   $                  -


Cull Breeding Stock (per Live Lb)
                                 Total Hd                                  Gross        Sales                                                   Net                Effective                Est                                                                              Cost Pre                            Allocation                Effective            Gross

                                 Shipped        Avg Wt.                    Sales        Adjs.                      NPPC                        Sales                Sales                Farm Cost                Commissions                    Freight                    Hedge /Alloc                             To Sow Unit             Cost               Margin           Margin $

 Heavy Sows                         3,469       532.89                   $ 0.5727                              $ (0.0023)                 $           0.5704   $         0.5704         $ 0.4549                  $      -                   $ 0.0805                   $          0.5354                        $        0.0350       $         0.5704    $         -       $              -
 Light Sows                       15,348        406.76                   $ 0.5314                              $ (0.0021)                 $           0.5292   $         0.5292         $ 0.5887                  $      -                   $ 0.0793                   $          0.6681                        $       (0.1388) $              0.5292    $         -       $              -
 Boners                             2,415       405.61                   $ 0.4696                              $ (0.0019)                 $           0.4678   $         0.4678         $ 0.5937                  $      -                   $ 0.0789                   $          0.6726                        $       (0.2048) $              0.4678    $         -       $              -
 Others                             1,358       344.86                   $ 0.2101                              $ (0.0008)                 $           0.2092   $         0.2092         $ 0.6855                  $      -                   $ 0.0751                   $          0.7606                        $       (0.5514) $              0.2092    $         -       $              -
 Boars                                441       563.72                   $ 0.1902                              $ (0.0008)                 $           0.1895   $         0.1895         $ 0.5762                  $      -                   $ 0.0800                   $          0.6561                        $       (0.4667) $              0.1895    $         -       $              -
 NV/DOA                              354        382.33                   $     -                               $      -                   $          -         $           -            $ 0.6271                  $      -                   $ 0.0790                   $          0.7061                        $   (0.7061) $                    -       $      -   $                 -
 Total to Sow Unit
 Alloc                            23,385        424.35                   $ 0.5020                              $ (0.0020)                 $      0.5000        $       0.5000           $ 0.5690                  $     -                    $ 0.0793                   $         0.6484                         $#######
                                                                                                                                                                                                                                                                                                                    (0.1460) $                 0.5024      $ (0.0024) $             (23,930)

                                            -             -                                                                               $               -    $               -                                                                                        $                  -                     $                 -   $               -   $             -   $                  -


Summary
                                 Total Hd                                                                                                       Net                Effective                                                                                                 Cost Pre                                                      Effective            Gross

                                 Shipped        Avg Wt.                                                                                        Sales                Sales                                                                                                   Hedge /Alloc                             Allocation              Cost              Margin/Hd         Margin $

 Wean Pigs                       511,019          11.94                                                                                   $    21,860,488      $ 21,860,488                                                                                             $      20,721,534                        $             -       $    20,721,534     $       2.23      $   1,138,954
 Feeder Pigs                        2,359         24.76                                                                                   $           96,062   $       96,062                                                                                           $         125,813                        $             -       $       125,813     $ (12.61) $              (29,751)
 Non Select Hogs                    5,798       296.16                                                                                    $     1,117,027      $   1,117,027                                                                                            $       1,460,291                        $      (343,263) $          1,117,027     $        -        $              -
 Market Hogs                     582,244        266.65                                                                                    $   101,303,338      $ 101,303,338                                                                                            $    113,275,162       $      (864,914) $              -       $   112,410,248     $ (19.08) $ (11,106,910)
 Cull Breeders                   23,385         424.35                                                                                    $     4,961,715      $ 4,961,715                                                                                               $      6,434,216                 $ (1,448,571) $ 4,985,645                        $      (1.02)     $     (23,930)
 Sub-Total                    1,124,805                                                                                                   $ 129,338,631        $ 129,338,631                                                                                             $ 142,017,017 $ (864,914) ####### $ 139,360,268                                   $      (8.91)     $ (10,021,637)
                                                                                                                                                                                                                                                                        COS Adj. (Op. Changes)                                                             $      (1.24)     $ (1,390,525)
                                                                                                                                                                                                                                                                        SG&A                                                                               $      (0.87)     $    (981,258)
                                                                                                                                                                                                                                                                        Hedge Accruals                                                                     $      (6.07)     $ (6,825,794)
                                                                                                                                                                                                                                                                        Logistics Variance                                                                 $      (0.02)     $     (18,168)
                                                                                                                                                                                                                                                                        LCM Adjustments                                                                    $       7.56      $   8,509,124
                                                                                                                                                                                                                                                                        FFE Wean Pig Sales Reserve                                                         $       0.66      $     737,651
                                                                                                                                                                                                                                                                        Donation/Brdg Stock Dead loss Adj                                                  $      (0.07)     $     (75,000)
                                                                                                                                                                                                                                                                        Gain/(Loss)_Asset Disposal                                                         $       0.14      $     154,875
                                                                                                                                                                                                                                                                        Finish Closeout Adjs.                                                              $       0.21      $     230,595
                                                                                                                                                                                                                                                                        Down Time Exp/Marketing Bonus                                                      $      (0.00)     $      (3,200)
                                                                                                                                                                                                                                                                        EBIT                                                                               $      (8.61)     $ (9,683,337)
                                                                                                                                                                                                                                                                        Interest Income                                                                    $       0.08      $      89,565
                                                                                                                                                                                                                                                                        EBT                                                                                $      (8.53)     $ (9,593,772)




{YTD Recap}                                                                                                                                                                                       5                                                                                                                           Tyson Foods Inc. Confidential
